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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          :
Malika Hudwell                            :    Civil Action No. 2:21-CV-01521
                                          :
                Plaintiff,                :
       v.                                 :
                                          :
ESA Management, LLC                       :
                                          :
                Defendant.                :
                                          :
                                JOINT STIPULATION OF DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Malika Hudwell and

Defendant ESA Management, LLC, by and through their respective attorneys, respectfully and

jointly stipulate to the dismissal of this action with prejudice. Each party shall bear her or its own

attorney’s fees, costs, and expenses.




DUFFY NORTH                                                   LITTLER MENDELSON P.C.
/s/ Christopher Manno                                         /s/ Tara Param
Christopher Manno, Esquire                                    Tara Param, Esquire
104 N. York Road                                              Three Parkway
Hatboro, PA 19040                                             1601 Cherry Street, Suite 1400
(215) 675-7300                                                Philadelphia, PA 19102-1321
Attorneys for Plaintiff                                       (267) 402-3000
                                                              Attorneys for Defendant


DATE: 1/26/2022



                             APPROVED BY THE COURT 1/26/2022

                             /s/ Mitchell S. Goldberg
                             __________________________________
                             MITCHELL S. GOLDBERG, J.
